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                                PURCHASE AND SALE AGREEMENT


                                           By and Between


                   85 Flatbush RHO Hotel LLC and 85 Flatbush RHO Residential LLC

                                               as Sellers


                                                  and


                                            TH Holdco LLC


                                      Dated as of: June 30, 2022


                                             The Property:

        (i) 85 Flatbush Extension, Brooklyn, New York (Block 120; Lots 1201, 1202), and (ii) 85 Flatbush
                          Extension, Brooklyn, New York (Block 120; Lot 1203)




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                                   PURCHASE AND SALE AGREEMENT

         THIS PURCHASE AND SALE AGREEMENT (the “Agreement”) is entered into by and between
85 Flatbush RHO Hotel LLC and 85 Flatbush RHO Residential LLC (referred to herein, individually and/or
collectively as the context may require, as the “Seller” and collectively as “Debtors”), and TH Holdco LLC
(“Purchaser”) as of the 30th day of June, 2022 (the “Effective Date”).

         WHEREAS, on December 18, 2020 (the “Petition Date”), the Debtors commenced voluntary
petitions (the “Petitions”) for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) before the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) under Case Nos. 20-23280-rdd; 20-23281-rdd; and 20-23282-rdd (the “Cases”), all of which Cases
were jointly administered by Order of the Bankruptcy Court on December 28, 2020 under lead case 20-
23280;

       WHEREAS, Flatbush Avenue 1 LLC (“85 Flatbush Lender”), was a secured creditor and
mortgagee of the Debtors;

         WHEREAS, on March 29, 2021, the Bankruptcy Court entered the Final Consent Order Authorizing
(I) Use of Cash Collateral, (II) Granting Adequate Protection, and (III) Granting Related Relief [Docket No.
64] (the “Consent Order”), pursuant to which the Debtors and the 85 Flatbush Lender agreed that as of
Petition Date, the principal amount of the 85 Flatbush Lender’s claims against the estates of the Debtors is
$90,000,000.00;

         WHEREAS, 85 Flatbush Lender filed its proofs of claim in the Debtors’ Cases, reflecting that as of
the Petition Date, the total amount due and owing from the Debtors to 85 Flatbush Lender was a sum not
less than $90,000,000.00 (the “85 Flatbush Lender Claim”);

        WHEREAS, on February 20, 2022, TH Holdco LLC (“TH Holdco”) filed the Chapter 11 Plan Filed
by Creditor TH Holdco LLC Related to 85 Flatbush RHO Mezz, LLC, 85 Flatbush RHO Hotel LLC, and 85
Flatbush RHO Residential, LLC [Docket No. 151] (as amended, supplemented, or modified from time to
time, the “TH Holdco Plan”) and accompanying Disclosure Statement [Docket No. 152] (as amended,
supplemented, or modified from time to time, the “TH Holdco Disclosure Statement”);

        WHEREAS, on May 26, 2022, the Bankruptcy Court entered an Order approving the TH Holdco
Disclosure Statement [Docket No. 210] and granting related relief;

        WHEREAS, on June 30, 2022, the Bankruptcy Court entered an Order, among other things,
confirming the TH Holdco Plan, approving the Sale Transaction (defined below) and granting related relief
[Docket No. _______] (the “Confirmation Order”);

          WHEREAS, subject to the Bankruptcy Court’s entry of the Confirmation Order, Seller is authorized
to sell the Properties; and

          WHEREAS, subject to the Bankruptcy Court’s entry of the Confirmation Order, Seller desires to
sell, transfer and assign to Purchaser, and Purchaser desires to purchase, acquire and assume from Seller
pursuant to the Plan and Confirmation Order, all of Seller’s respective right, title and interest (if any) in and
to the Properties, as more specifically provided herein.

         NOW, THEREFORE, subject to the terms and conditions of this Agreement, for and in
consideration of the sum of Ninety-Four Million and 00/100 Dollars ($94,000,000.00) and other good and
valuable consideration, including the mutual covenants and agreements set forth herein, the receipt and
legal sufficiency of which are hereby acknowledged, the parties hereto agree as follows:




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                                                    ARTICLE 1
                                                   DEFINITIONS

        For purposes of this Agreement, all capitalized terms and certain other terms used herein shall
have the respective meanings specified in Schedule I attached hereto and made a part hereof.

                                                  ARTICLE 2
                                                GENERAL TERMS

         SECTION 2.1. The Sale Transaction¶
                                          .

                   2.1.1. Subject to the terms and conditions of this Agreement and the entry of (i) the
Confirmation Order in connection with the Cases, Seller agrees to sell, transfer, convey and assign to
Purchaser (or its nominee or designee), and Purchaser agrees to purchase and accept from Seller on the
Closing Date (as defined herein), free and clear of all Liens, claims and all Interests (as defined in the Plan),
subject only to Section 4.12 herein and Permitted Exceptions (as hereinafter defined), and any other interest
to the extent acceptable to Purchaser, all of Seller’s respective right, title and interest (if any) in and to (i)
that certain real property and improvements as more particularly described on Schedule II attached hereto
and made a part hereof together with the buildings and improvements thereon located at and commonly
known as (i) 85 Flatbush Extension, Brooklyn, New York (Block 120; Lots 1201, 1202) (the “Hotel
Property”) and (ii) 85 Flatbush Extension, Brooklyn, New York (Block 120; Lot 1203) (the “Residential
Property”, and together with the Hotel Property, the “Real Estate”), and (ii) the furniture, furnishings,
fixtures, equipment and other items of personal property exclusively owned by Seller located in or upon,
and used in connection with, the Real Estate (collectively, the “Personalty”). The Real Estate and the
Personalty are to be conveyed together with (x) the Leases (as hereinafter defined), together with, all rents
and other sums due thereunder, whether acquiring prior to, on or after the Closing (collectively, the “Rents”)
and any and all guaranties and security deposits relating to the Leases (collectively, the “Security
Deposits”), (y) all easements, rights of way, air and development rights, reservations, privileges,
appurtenances, and other estates and rights of Seller, if any, pertaining to its interest in the Real Estate,
and (z) all right, title and interest of Seller, if any, in and to all alleys adjoining its interest in the Real Estate
and in and to the land lying in the bed of any street, road or avenue, opened or proposed, in front of or
adjoining its interest in the Real Estate to the center line thereof (the Real Estate and the Personalty,
together with all of the foregoing, are hereinafter sometimes collectively referred to herein as the “Property”
or the “Properties”).

         SECTION 2.2. Purchase Price¶
                                    .

                  2.2.1. Subject to the terms and conditions herein contained, including, without limitation,
Section 17.1 of this Agreement, the “Purchase Price” for the Property and the various assignments
incidental thereto referred to herein is NINETY-FOUR MILLION DOLLARS AND NO CENTS
($94,000,000.00). The Purchase Price shall be payable by credit bidding the amount of the Claim set forth
in the TH Holdco Plan or such other amount as may be bid by TH Holdco at any auction plus any cash
consideration to be paid by TH Holdco including, but not limited to the TH Holdco Additional Consideration,
the TH Holdco Unsecured Claim Additional Funding and the TH Holdco Unsecured Claim Dedicated Fund,
by wire transfer.

                 2.2.2. The Parties agree that the Personalty has de minimis value. Accordingly, no
portion of the Purchase Price is attributable to the Personalty.

                                             ARTICLE 3
                               PERMITTED EXCEPTIONS; TITLE INSURANCE

        SECTION 3.1. Sale Subject to¶      . Subject to the terms and conditions of this Agreement, entry of
the Confirmation Order, Seller shall convey, and Purchaser shall accept fee simple title to the Real Estate,
insurable by Fidelity National Title Insurance Company (the “Title Company”) at regular premiums, without


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exceptions or reservations of any type or kind, except (a) ALTA standard printed exceptions other than
those that can be removed by the Sale Order, or by an affidavit of Seller to be provided pursuant to Section
3.2.3 hereof, (b) the Permitted Exceptions, and (c) the obligations expressly assumed by Purchaser under
this Agreement.

                  3.1.1. Pursuant to the Confirmation Order, all liens, claims and encumbrances (the
“Liens”) shall attach to the net proceeds of the sale (the “Net Proceeds”) to the same extent they encumber
the Property. To the extent Seller is required to satisfy any of the Liens from the Net Proceeds pursuant to
the Confirmation Order, Seller shall make such payments in accordance with the Confirmation Order or by
further order of the Bankruptcy Court. Nothing herein is a waiver of the rights of Seller or any other third
party to contest the validity, amount or priority of any Liens and the right of any claimant or lienholder to
have their respective Liens satisfied from Net Proceeds.

        SECTION 3.2. Title Report¶ . Purchaser acknowledges that it has received and reviewed the Title
Report; and Purchaser has agreed to take title to the Property free and clear of all Liens, subject only to
Section 4.12 and the Permitted Exceptions.

                  3.2.1. If any update to the Title Report or any update to a Survey (as hereinafter defined)
reflects any title exceptions that are not Permitted Exceptions and, therefore, which Purchaser is not
required to accept (the “Non-Permitted Exceptions”), Seller shall use its best efforts, at or prior to Closing,
solely through the entry of the Confirmation Order and as provided in Section 3.1.1 above, to attempt to
remove the following: (i) any and all of the Non-Permitted Exceptions that Seller placed of record or
consented to be placed of record following the date of the Title Report, and (ii) any and all other Non-
Permitted Exceptions that may be removed by the entry of the Confirmation Order. Seller shall have no
obligation with respect to the clearance of title as required hereunder other than the delivery of the
Confirmation Order, and the Confirmation Order shall be subject to the reasonable consent of the
Purchaser.

                   3.2.2. Notwithstanding the foregoing or anything herein to the contrary, if the removal of
any mechanics’ or materialmen’s liens filed against the Property is the responsibility of any Tenant of the
Property pursuant to the terms of its Lease, Seller shall promptly deliver a notice to such Tenant with respect
thereto and shall use its best efforts (without the expenditure by Seller of any funds and without the
commencement or prosecution by Seller of an action or proceeding against such Tenant with respect
thereto) to cause such Tenant to promptly remove such mechanics’ or materialmen’s lien. Seller shall have
no liability, nor shall Purchaser be entitled to any abatement or reduction of the Purchase Price or delay or
adjournment of the Closing, if such Tenant fails to remove such mechanics’ or materialmen’s lien. Seller
shall promptly deliver to Purchaser a copy of any such notice delivered by Seller to any Tenant of the
Property.

                  3.2.3. In the event that there exist any Non-Permitted Exception which is not removed
through the entry of the Confirmation Order, Purchaser may elect within ten (10) Business Days after the
entry of the Confirmation Order, and may also elect within ten (10) Business Days after the delivery to
Seller’s counsel of any update to the Title Report showing any Non-Permitted Exception which is not
removed through the entry of the Confirmation Order, as the case may be, to either (i) not consummate the
transactions contemplated hereby, in which event this Agreement shall be terminated and of no further
force and effect, and neither of the parties hereto shall have any rights or obligations to the other hereunder
or (ii) consummate the transactions contemplated hereby subject to such additional exceptions and proceed
to Closing without an abatement of the Purchase Price. Purchaser’s failure to timely deliver a notice electing
to not consummate the transactions contemplated hereby shall be deemed Purchaser’s election to
consummate the transaction in accordance with the terms and conditions of this Agreement.
Notwithstanding the foregoing, if Purchaser elects to terminate this Agreement as set forth above, Seller
shall have the right to void such termination by providing written notice to Purchaser that Seller elects, in
its sole discretion, to cure the Non-Permitted Exception by either removing the same at or prior to Closing
or providing Purchaser with a credit against the Purchase Price equal to the amount of the cost to cure the
Non-Permitted Exception. In the event Seller elects to cure the Non-Permitted Exceptions and the Title



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Company removes such Non-Permitted Exception(s) from the Title Report, Purchaser shall be obligated to
complete the transaction contemplated by this Agreement.

                 3.2.4. If required by the Title Company, Seller agrees to execute, acknowledge and
deliver a standard and customary owner’s title affidavit or related documentation at Closing as modified for
a debtor in chapter 11 and such other matters as the Title Company may reasonably require in order to
issue a policy of title insurance to Purchaser in the manner required under this Agreement; provided
however that Seller shall not be obligated to pay any amounts to or claims of third parties in order to do so
(other than as required by the Confirmation Order or pursuant to Sections 3.1.1 (as and to the extent
provided for therein) and 3.2.1 above).

        SECTION 3.3. Permitted Exceptions¶
                                         .

        “Permitted Exceptions” means:

                 3.3.1.   intentionally omitted;

                3.3.2. covenants, easements, restrictions and agreements of record, provided same
does not render title uninsurable;

                3.3.3. any state of facts that an accurate survey of the Property would show (including
encroachments, projections, retaining walls and stoops), and any further state of facts that an accurate
survey since the date of such survey would show, provided that such state of facts do not render title
uninsurable and such state of facts does not adversely affect the present use and operation of the Property
(each a “Survey”);

                3.3.4. Liens for unpaid taxes, water charges, sewer rents, vault charges, assessments,
charges, rents and any other governmental charges, which are not yet due and payable and are
apportioned in accordance with the provisions of Article 4 hereof;

                 3.3.5. all rights and easements of record, for electricity, gas, telephone, water, cable
television and any other utilities to maintain and operate lines, cables, poles and distribution boxes in, over
and upon the Real Estate, as long as such improvement shall stand and that if any damage or destruction
to the Property, that the Real Estate as it is currently constructed will be permitted to be reconstructed;

                  3.3.6. possible minor projections and/or encroachments of less than one (1) foot of
retaining walls, foundations, stoops, areas, steps, sills, trim, cornices, standpipes, fire escapes, coal chutes,
casings, ledges, water tables, lintels, porticos, keystones, windows, hedges, copings, cellar doors, sidewalk
elevators, fences, fire escapes and the like, or similar projections or objects upon, under or above any
adjoining buildings and/or streets or avenues or those belonging to adjoining premises which encroach
upon the Real Estate, or within any set back areas, provided that the Title Company shall insure that such
projections or encroachments may remain undisturbed so long as the buildings and improvements shall
stand and minor variations between the lines of record title and fences, retaining walls, hedges, and the
like, provided they do not render title uninsurable;

                 3.3.7. variations between the tax diagram or the tax map and the record description, to
the extent they do not render title uninsurable;

                 3.3.8. any and all violations of building, fire, sanitary, environmental, housing and similar
laws, municipal ordinances, orders or requirements (collectively, “Violations”) affecting the Property from
or by any federal, state, county or municipal department, agency, authority or bureau having or asserting
jurisdiction (each, a “Governmental Authority”) that are noted or issued as of the Effective Date or at the
date of Closing; provided, however, that Seller shall be responsible for the payment of all monetary fines
and penalties associated with any Violations noted or issued against the Property (together with any interest
accrued thereon) through Closing;


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                 3.3.9. building, zoning, subdivision and other governmental laws, codes and regulations,
and landmark, historic and wetlands designations, which are not and would not be violated by the existing
structures or present use thereof and which do not render title unmarketable or uninsurable;

                 3.3.10. any matter created or caused by Purchaser;

                 3.3.11. intentionally omitted;

                 3.3.12. rights of the public and adjoining owners in highways, streets, roads and lanes
crossing the Property provided that the Title Company shall insure (at no additional cost to Purchaser) that
no third parties have any claims for adverse possession or easements by prescription by virtue of the use
of such highways, streets, roads and lanes crossing the Property;

                  3.3.13. standard exclusions from coverage contained in the printed jacket of the form of
title policy employed by the Title Company, other than those that can be removed by the title affidavit that
Seller is required to provide pursuant to the terms of this Agreement;

                3.3.14. any lien, encumbrance or other item from which the Property will be released
pursuant to the Confirmation Order;

                    3.3.15. the Leases or such of them as shall be in effect on the Closing Date, and the rights
of the tenants, as tenant only, thereunder, provided that no tenant has any right to purchase the Property
or right of first refusal;

                 3.3.16. any matter that is the responsibility of the tenants pursuant to the terms of their
Leases, and

                3.3.17. any matters which the Title Company may raise, provided that the Title Company
shall agree to omit or insure without additional premium to Purchaser against collection of the same out of
the Property.

                                           ARTICLE 4
                                  APPORTIONMENTS AND PAYMENTS

         SECTION 4.1. Apportionments Relating to the Property¶         . The following shall be apportioned
between Seller and Purchaser at the Closing with respect to the Property, as of 11:59 PM of the day
immediately preceding the Closing Date (the “Apportionment Date”), and the net aggregate amount
thereof either shall be paid by Purchaser to Seller or credited to Purchaser towards the Purchase Price, as
the case may be, at the Closing (provided, however, that, other than as provided in Section 3.1.1, nothing
in this Agreement shall obligate the Seller to pay any amounts due and owing or otherwise relating to
prepetition obligations to any third party, and notwithstanding the contrary;

                  4.1.1. real property taxes, and any assessments (or installments thereof), including with
respect to Business Improvement Districts, on the basis of the fiscal year for which payable; if the
Apportionment Date shall be prior to the date on which the real property tax rate is fixed, the apportionment
of real property taxes shall be made on the basis of the tax rate for the preceding year applied to the latest
assessed valuation;

                  4.1.2. to the extent not metered, water rates and charges, sewer taxes and rents and
electricity and other utility charges;

                 4.1.3. fuel oil and liquid propane gas, if any, at the cost per gallon most recently charged
to Seller, based on the supplier’s measurements thereof taken within ten (10) days of the Closing Date;




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                 4.1.4. rents and other revenues derived from the Leases (the “Rents”), shall be adjusted
and prorated on an as, if and when collected basis pursuant to the terms herein. Rents collected by
Purchaser or Seller after the Closing from any Tenant or other party, allocable to periods prior to the Closing
shall belong solely to Purchaser and Seller waives any rights to such Rents received after Closing;

                  4.1.5. insurance proceeds received by Seller, if any, and payable to Purchaser pursuant
to Article 13 hereof to the extent not applied to repair or restore the Property in accordance with the
provisions of this Agreement;

                4.1.6. security deposits currently being held by or on behalf of Seller pursuant to the
Leases shall be delivered to Purchaser at Closing;

               4.1.7. annual municipal permit and inspection fees and other fees for licenses and
permits assigned to Purchaser, if any; and

                 4.1.8. any and all amounts due under any Property Contracts, including any termination
fees, shall be payable by Seller at or prior to Closing.

        SECTION 4.2. Taxes and Assessments¶
                                          .

                  4.2.1. If, on the Closing Date, all or any portion of the Real Estate shall be or shall have
been affected by assessments (including Business Improvement District assessments) that are, or which
may become, payable in annual installments, of which the first installment is then a charge or lien or has
been paid or if any of the improvements to be paid for thereby are in place or commenced, then, for
purposes of this Agreement only, the installment(s) which shall have been paid or the installment which
shall be then due and payable shall be apportioned between Seller and Purchaser and all of the unpaid
installments of any such assessments, including those which are to become due and payable after the date
hereof, shall continue to be Liens upon the Real Estate, it being understood and agreed that Seller and
Purchaser shall be responsible for a pro rata share of such assessment, with Purchaser being responsible
for the period from and after the Apportionment Date and Seller being responsible for the period prior to the
Apportionment Date, regardless of when such installments are due and payable (provided, however, that,
other than as provided in Article 3 nothing in this Agreement shall obligate Seller to pay any amounts due
and owing or otherwise relating to prepetition obligations to any third party). Notwithstanding any other
provision of this Agreement, Seller shall have no responsibility for any taxes or assessments that become
due or payable as a result of the loss of any exemption following the transfer of the Property.

                 4.2.2. To the extent that any refund of real property taxes, assessments (including
Business Improvement District assessments), water rates and charges, sewer taxes and rents or any other
utility made after the Closing Date is applicable to a period before the Closing Date, such refund shall be
payable to Seller or returned by Purchaser to Seller, net of the actual costs incurred by Purchaser in
obtaining same. Notwithstanding anything to the contrary any further refunds or abatements related to 421-
a of the New York Real Property Tax Law shall be the property of the Purchaser.

                 4.2.3. To the extent that any refund of real property taxes, assessments (including
Business Improvement District assessments), water rates and charges or sewer taxes and rents made after
the Closing Date is applicable to a period after the Closing Date, such refund shall be payable to Purchaser
or returned by Seller to Purchaser, subject to the actual costs incurred by Seller, including reasonable
attorneys’ fees in obtaining same (provided, however, that, other than as provided in Section 3.1.1, nothing
in this Agreement shall obligate Seller to pay any amounts due and owing or otherwise relating to prepetition
obligations to any third party).

         SECTION 4.3. Transfer of Utilities¶       . Purchaser, at its sole cost and expense, shall cause the
transfer of all utility services for the Real Estate to Purchaser’s name as of the Closing Date and Seller shall
cooperate with Purchaser in connection therewith provided same is at no cost to Seller. If utility services
shall not have been transferred to Purchaser’s name for the Real Estate effective as of the Closing Date,


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then, at the Closing, any such charges with respect to services not so transferred shall be prorated, based
upon the per diem charges obtained by using the most recent period for which readings of such utility
services shall then be available. Purchaser, at its sole cost and expense, shall promptly thereafter cause
such utility services to be transferred to Purchaser’s name, and Seller shall cooperate with Purchaser in
connection therewith. Purchaser shall make all required deposits on account with utility companies or on
account with municipalities and shall reasonably cooperate with Seller in having any deposits currently held
by such companies and municipalities, returned to Seller, or Purchaser can credit to Seller at Closing.
However, Seller shall be solely responsible for obtaining the return of its own utility company deposits, if
any (provided, however, that nothing in this Agreement shall obligate Seller to pay any amounts due and
owing or otherwise relating to prepetition obligations to any third party).

         SECTION 4.4. Rents Received After Closing¶      . Subject to Section 4.5 hereof, if Purchaser shall
receive Rents under any Lease after the Closing Date, such Rent shall belong to Purchaser. To the extent
that Seller receives Rents after the Closing Date, the same shall be held in trust by Seller for Purchaser,
and shall be promptly paid to Purchaser.

        SECTION 4.5. Collection of Rents¶    . After the Closing Date, Purchaser shall bill Tenants for Rents
as required by their respective Leases. Seller shall have no right subsequent to the Closing to bring a legal
proceeding against any Tenant. Nothing in this Section 4.5 or any other provision of this Agreement shall
be construed as an agreement on the part of Purchaser to refrain from its right to terminate any Lease
pursuant to its terms. Notwithstanding the foregoing, Purchaser shall receive a credit for any and all Rents
which have been prepaid by tenants for periods subsequent to the Closing Date. In the event Seller enters
into any lease after execution of this Agreement, Seller shall advise Purchaser of any prepaid Rents
received and Purchaser shall receive a credit on the Closing Date for the amount of prepaid Rent for the
period subsequent to the Closing Date.

         SECTION 4.6. Transfer Tax¶      . Except as expressly provided herein, each party shall bear its own
costs and expenses, including attorney, accountant and other consultant fees, in connection with the
execution and negotiation of this Agreement and the consummation of the transactions contemplated
hereby. Notwithstanding anything to the contrary, it is the intention of Seller and the Purchaser that the
Property should be sold pursuant to, and in accordance with the TH Holdco Plan providing for the sale of
the Property pursuant to this Agreement and Bankruptcy Court approved sale procedures and that such
sale shall be conducted pursuant to § 1146 of the Bankruptcy Code, which will serve to exempt the parties
hereto from any requirement to pay any real property transfer taxes, transfer gains taxes, and other similar
taxes and fees, if any, imposed on Seller by the state, county or municipality in which the Real Estate is
located which are imposed in connection with the sale, assignment, transfer and conveyance of the Real
Estate to Purchaser as contemplated by the provisions of this Agreement (collectively, the “Transfer Tax”)
that may arise in connection with the transfer of the Property through the transaction contemplated herein.
In addition, pursuant to Section 1146(a) of the Bankruptcy Code, the deeds conveying any of the Properties
to Purchaser or its nominee or designee upon the Effective Date of the Plan shall be an instrument of
transfer in connection with or in furtherance of the Plan and shall not be subject to tax under any law
imposing a stamp tax, real estate Transfer Tax, mortgage recording tax or similar tax. Notwithstanding
anything to the foregoing, if the Bankruptcy Court fails to enter an order exempting Transfer Tax, Seller
shall have the option to pay the Transfer Tax or cancel the sale. In the event Seller elects to terminate the
Agreement as a result of if the Bankruptcy Court failing to enter an order exempting Transfer Tax, Purchaser
shall have the option to vitiate Seller’s termination, pay the Transfer Taxes and proceed with the Sale.

        SECTION 4.7. Tax Returns¶. At the Closing, Purchaser and Seller shall deliver to the Title
Company a New York State Transfer Tax Return (TP-584), City of New York Real Property Transfer Tax
Return (NYC-RPT) and Equalization form (RP-5217NYC) (collectively, the “RE Tax Returns”) and deliver
same to the Title Company for delivery to the appropriate authority.

         SECTION 4.8. Violations¶    . Seller and Purchaser acknowledge that Purchaser is purchasing the
Property subject to all Violations that may be of record with respect to the Real Estate as of the Closing
Date. Seller hereby authorizes Purchaser to conduct a customary and ordinary search at the request of
the Title Company for the purposes of determining whether any Violations have been noted or issued with

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respect to the Real Estate. Seller and Purchaser shall each promptly notify the other party and provide the
other party with a copy of all notes or notices of Violations which Seller or Purchaser shall receive after the
date hereof through the date of Closing.

           SECTION 4.9. Title Charges ¶. Purchaser shall pay the cost of Purchaser’s title insurance
premiums and any title search costs, the cost of a survey for the Property or any update thereto and all
recording and filing fees, including, but not limited to, those in connection with the Deed. Notwithstanding
anything in this Section and Agreement to the contrary, Seller shall be responsible for any charges
associated with the recording of documents necessary to remove Non-Permitted Exceptions from the Title
Report, it being agreed that Seller shall not be required to deliver any documents for recordation to clear
title if the Title Company is prepared to insure over the same based upon the delivery of the Confirmation
Order.

         SECTION 4.10. Transaction Expenses¶    . Except as expressly provided herein, each party shall
bear its own costs and expenses, including attorney, accountant and other consultant fees, in connection
with the execution and negotiation of this Agreement and the consummation of the transactions
contemplated hereby.

        SECTION 4.11. Assignment of Existing Mortgages¶          . Upon the request of the Purchaser, Seller
shall cause the current mortgagee to assign the existing mortgage(s) to Purchaser’s lender at Closing
without cost to Seller and the sale of the Property shall be delivered subject to the existing Mortgages.

        SECTION 4.12. Survival¶
                              . The provisions of this Article 4 shall survive the Closing.

                                           ARTICLE 5
                               COVENANTS REGARDING THE PROPERTY

         SECTION 5.1. Maintenance and Operation of the Property¶        . Between the date hereof and the
Closing Date, Seller shall not be obligated to maintain, repair, operate and manage the Property.
Notwithstanding the foregoing to the contrary, Seller shall be permitted to perform such work as Seller
elects, in its sole and absolute discretion, provided that such work that not adversely affect the value or
structure of the Property.

        SECTION 5.2. Leasing of the Property ¶. Seller shall not, between Effective Date and the
Closing, be permitted to execute any Leases required by law or otherwise without Purchaser’s prior written
consent. Seller shall not, between Effective Date and the Closing, without Purchaser’s prior written consent,
grant any concession or rent abatement for any period following the Closing. If any space is vacant on the
Closing Date, Purchaser shall accept the Property subject to such vacancy. Seller shall not apply any
security deposit on account of any rental due or to become due under any of the Leases, other than in
accordance with the Leases, between now and the date of Closing; absent an express provision in any
such Lease to the contrary, Seller shall not return any such security deposit to the Tenant thereunder with
respect to any expiring or terminated Lease unless the Tenant thereunder shall have actually vacated the
premises demised under such Lease.

        Seller does not guarantee, represent or warrant to Purchaser that any of the Leases will be in effect
on the Closing Date or whether or not Tenants under any or all of the Leases shall be in full compliance
with the terms of such Leases. Further, Purchaser acknowledges that whether or not any or all of the
Leases are in effect or the Tenants thereunder are in compliance with their respective terms shall not be a
condition to Closing.

        SECTION 5.3. Insurance¶        . Seller shall maintain in full force and effect the insurance policies, if
any, currently in effect with respect to the Property (or replacements continuing similar coverage and deliver
to Purchaser, upon request, reasonable evidence of such insurance, including certificates of such
insurance)



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        SECTION 5.4. Additional Responsibilities¶
                                                .

                5.4.1. Seller shall cause any and all Property Contracts to be terminated at no expense
to Purchaser prior to Closing.

                5.4.2. Seller shall not remove from the Property any Personalty unless such item is
replaced with a similar item of comparable utility and value.

                 5.4.3. Seller shall not knowingly take any action with respect to the Properties that Seller
knows would result in a failure to comply in all material respects with all laws, ordinances, rules and
regulations of any governmental authorities applicable to the Property or any portion thereof.

                 5.4.4. Seller shall not enter into any brokerage, leasing agency or similar agreements
affecting the Property, other than in the ordinary course of business to rent vacant apartments, without the
prior written consent of Purchaser, which consent shall not be unreasonably withheld conditioned or
delayed.

                5.4.5. Seller shall not grant any lien or cause any instrument to be recorded that would
further encumber the Property in any manner, other than memoranda of lease and/or subordination, non-
disturbance and attornment agreements with respect to Leases entered into in accordance with the terms
hereof or Liens or encumbrances to be discharged as of the Closing Date.

                                       ARTICLE 6
                      REPRESENTATIONS AND WARRANTIES OF PURCHASER

        SECTION 6.1. Generally¶    . Purchaser represents and warrants to Seller the following are true and
correct on the date hereof and as of the date of the Closing:

                 6.1.1. (a) Purchaser is a duly formed and validly existing limited liability company under
the Laws of the State of Delaware, (b) Purchaser has the full right, authority and corporate power to enter
into this Agreement, to consummate the transactions contemplated herein and to perform its obligations
hereunder and under those Closing Documents to which it is a party, (c) each of the Persons executing this
Agreement on behalf of Purchaser is authorized to do so, and (d) this Agreement constitutes a valid and
legally binding obligation of Purchaser enforceable against Purchaser in accordance with its terms;

                6.1.2. there are no legal or administrative proceedings pending or, to the best of
Purchaser’s actual knowledge, without investigation, threatened against or affecting Purchaser that would
adversely affect Purchaser’s legal authority or financial ability to perform its obligations under this
Agreement and the Closing Documents to which it is a party;

                  6.1.3. the execution and delivery of this Agreement, the consummation of the
transactions contemplated hereby and the performance by Purchaser of its obligations hereunder and
under the Closing Documents to which it is a party, do not and will not (a) violate or conflict with any
judgment, decree or order of any court or any Law or permit applicable to it, or (b) breach any provisions
of, or constitute a default under, any contract, agreement, instrument or obligation to which it is a party or
by which Purchaser is bound;

                6.1.4. the execution and delivery of this Agreement by Purchaser does not, and the
performance of its obligations hereunder and under the Closing Documents to which it is a party will not,
require the consent or approval of any public authority or any other Person or any lender from which
Purchaser may seek to obtain financing, as may be applicable provided however that Purchaser
acknowledges that its obligations under this Agreement are not contingent upon any such financing;

                6.1.5.    Purchaser’s Federal Tax Identification Number is XX-XXXXXXX.



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         SECTION 6.2. Closing Conditions; Survival of Representations and Warranties ¶. The
following are conditions precedent to the obligation of Seller to close title under this Agreement, any or all
of which may at Seller’s option be waived in writing:

                 6.2.1.   Intentionally Omitted.

                 6.2.2. Purchaser shall have (or, with respect to obligations of Purchaser to be performed
on the Closing Date, Purchaser shall be ready, willing and able to perform same on the Scheduled Closing
Date) (a) delivered, or caused to be delivered, all of the Closing Documents to which it is a party and all
other documents, instruments and other items required to be delivered by Purchaser at or prior to Closing
(including, without limitation, pursuant to Section 9.1.2), (b) tendered the Purchase Price in accordance
with the terms of this Agreement, and (c) performed in all material respects all other material obligations on
Purchaser’s part to be performed hereunder on or prior to the Closing Date.

              6.2.3. All other conditions precedent expressly set forth herein to Seller’s obligation to
consummate the transaction contemplated hereby have been satisfied (or waived in writing by Seller).

                 6.2.4.   The Bankruptcy Court shall have entered the Confirmation Order.

               6.2.5. The representations, warranties and certifications of Purchaser set forth in this
Agreement shall not survive the Closing.

                                          ARTICLE 7
                          REPRESENTATIONS AND WARRANTIES OF SELLER

         SECTION 7.1. Generally¶    . Seller represents, warrants and covenants to and with Purchaser that
the following are true and correct on the date hereof and as of the date of the Closing:

                  7.1.1. (a) Seller is the owner of all of the Property of the estate of the Debtors, (b) subject
to the entry of the Bidding Procedures Order entered by the Bankruptcy Court, Seller has the full right,
authority and power to enter into this Agreement, and, subject to the entry of the Confirmation Order, to
consummate the transaction contemplated herein and to perform its obligations hereunder and under those
Closing Documents to which it is a party all of which have been duly authorized by all necessary actions on
the part of Seller, (c) each of the Persons executing this Agreement on behalf of Seller is authorized to do
so, and (d) subject to the entry of the Confirmation Order, this Agreement constitutes a valid and legally
binding obligation of Seller enforceable against it in accordance with its terms;

                  7.1.2. the execution and delivery of this Agreement, the consummation of the
transactions contemplated hereby, and the performance by Seller of its obligations hereunder and under
the Closing Documents to which it is a party (other than being subject to Bankruptcy Court approval) do not
and will not conflict with or violate any Law, rule, judgment, regulation, order, writ, injunction or decree of
any court or governmental or quasi-governmental entity having jurisdiction over Seller or any of the parties
comprising Seller, including the United States of America, the State of New York or any political subdivision
of either of the foregoing, or any decision or ruling of any arbitrator to which Seller or any of the parties
comprising Seller is a party or by which Seller or any of the parties comprising Seller is bound or affected,
or breach any provisions of, or constitute a default under, any contract, agreement, instrument or obligation
to which Seller or any of the parties comprising Seller is a party or by which any of them is bound; and

                 7.1.3. Seller is not a “foreign person” within the meaning of Section 1445 of the Internal
Revenue Code 1986, as amended, or any regulations promulgated thereunder (as such “foreign person” is
defined in the Internal Revenue Code).

              7.1.4. Neither the execution, delivery and performance of this Agreement nor the
consummation of the transactions contemplated hereby is prohibited by, or requires Seller to obtain any



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consent, authorization, approval or registration under any law, statute, rule, regulation, judgment, order,
writ, injunction or decree which is binding upon Seller, except as required by the Bankruptcy Court.

                 7.1.5.   The Debtors’ Federal Tax Identification Numbers are as follows:

                 85 Flatbush RHO RHO Hotel LLC (XX-XXXXXXX)

                 85 Flatbush RHO Residential LLC (XX-XXXXXXX)

        SECTION 7.2. Property Representations¶    . Seller represents and warrants to Purchaser that, as
of the date hereof, with respect to the Property:

                7.2.1. Seller has heretofore delivered to, or made available for review by, Purchaser a
true and complete set of all written Leases, including any amendments, if applicable, and Purchaser
acknowledges receipt and/or review of same. Except as set forth in this Section or elsewhere in this
Agreement, Seller makes no representation or warranty with respect to the Leases, it being understood and
agreed that Purchaser has received and/or reviewed the same and the Tenant files and is fully familiar with
the terms thereof and all other matters concerning the Leases.

                 7.2.2.   Intentionally Omitted.

                 7.2.3.   Intentionally Omitted.

                 7.2.4.   Intentionally Omitted.

                 7.2.5.   Intentionally Omitted

                 7.2.6.   Intentionally Omitted.

                 7.2.7.   Intentionally Omitted.

                 7.2.8.   Seller will keep all insurance policies in effect up to and including the Closing Date.

               7.2.9. There is no agreement in effect whereby Seller has agreed to sell or has granted
any Person an option or right of first refusal to purchase all or any part of the Property.

                    7.2.10. Neither Seller nor any Person who owns a direct or indirect interest in Seller (a
“Seller Party”) is a person or entity with whom United States persons or entities (collectively, a “U.S.
Person”) are restricted or prohibited from doing business under regulations of The U.S. Treasury
Department’s Office of Foreign Assets Control (“OFAC”) (including those named on OFAC’s specially
designated and blocked persons list) or under any statute, executive order (including the September 24,
2001, Executive Order Blocking Property and Prohibiting Transactions with Persons Who Commit, Threaten
to Commit or Support Terrorism) or other governmental action and no Seller Party has engaged or will not
engage in any dealings or transactions or be otherwise associated with such persons or entities. No Seller
Party is now nor shall be at any time prior to or at the Closing a Person with whom a U.S. Person, including
a United States Financial Institution as defined in 31 U.S.C. 5312, as periodically amended (a “Financial
Institution”), is prohibited from transacting business of the type contemplated by this Contract, whether such
prohibition arises under United States law, regulation, executive orders and lists published by the OFAC
(including those executive orders and lists published by OFAC with respect to Specially Designated
Nationals and Blocked Persons) or otherwise.

                7.2.11. No Seller Party: (i) is under investigation by any governmental authority for, or has
been charged with, or convicted of, money laundering, drug trafficking, terrorist related activities, any crimes
which in the United States would be predicate crimes to money laundering, or any violation of any Anti-
Money Laundering Laws (as hereinafter defined); (ii) has been assessed civil or criminal penalties under


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any Anti-Money Laundering Laws; or (iii) has had any of its funds seized or forfeited in any action under
any Anti-Money Laundering Laws. For purposes of this clause (l), the term “Anti-Money Laundering Laws”
shall mean laws, regulations and sanctions, state and federal, criminal and civil, that: (w) limit the use of
and/or seek the forfeiture of proceeds from illegal transactions; (x) limit commercial transactions with
designated countries or individuals believed to be terrorists, narcotics dealers or otherwise engaged in
activities contrary to the interests of the United States; (y) require identification and documentation of the
parties with whom a Financial Institution conducts business; or (z) are designed to disrupt the flow of funds
to terrorist organizations. Such laws, regulations and sanctions shall be deemed to include the USA
PATRIOT Act of 2001, Pub. L. No. 107-56 (the “Patriot Act”), the Bank Secrecy Act, 31 U.S.C. Section 5311
et. seq., the Trading with the Enemy Act, 50 U.S.C. App. Section 1 et. seq., the International Emergency
Economic Powers Act, 50 U.S.C. Section 1701 et. seq., and the sanction regulations promulgated pursuant
thereto by the OFAC, as well as laws relating to prevention and detection of money laundering in 18 U.S.C.
Sections 1956 and 1957

               7.2.12. There are no employees of the Seller at the Property engaged in the operation and
maintenance of the Property.

        It shall be a condition to Closing that the representations and warranties of Seller contained in
Sections 7.2 shall be true and correct in all material respects on the date hereof, and such representations
and warranties shall survive the Closing.

         SECTION 7.3. Closing Conditions; Survival of Representations and Warranties ¶. The
following are conditions precedent to the obligation of Purchaser to close title under this Agreement, any or
all of which may at Purchaser’s option be waived in writing:

                7.3.1. Except to the extent otherwise unnecessary as a result of the Confirmation Order,
each of the representations and warranties of Seller set forth in this Agreement shall be deemed to have
been repeated by Seller, at and as of the Closing Date, with the same force and effect as if first made on
and as of such date.

                 7.3.2. Seller shall have delivered all of the documents and other items required pursuant
to Section 9.1.1 of this Agreement and shall have performed all other material covenants, undertakings and
obligations herein agreed to be performed by it, and complied with all material conditions required by this
Agreement to be performed or complied with by Seller at or prior to the Closing.

                 7.3.3. At the time of the Closing, title to the Property shall be as provided in this
Agreement and the Title Company shall be willing to issue fee title insurance policies in favor of Purchaser
subject only to the Permitted Exceptions.

               7.3.4. The representations, warranties and certifications of Seller set forth in this
Agreement shall survive the Closing.

                7.3.5.    The Bankruptcy Court shall have entered the final, non-appealable Confirmation
Order.

          SECTION 7.4. Knowledge of Seller¶       . Whenever a representation or warranty is made in this
Agreement on the basis of the knowledge of Seller, such representation and warranty is made solely on
the basis of the actual, as distinguished from implied, imputed or constructive, knowledge on the date that
such representation and warranty is made, without inquiry or investigation or duty, of the Seller, without
attribution to such persons of facts or matters otherwise within the personal knowledge of any other officers,
directors or employees of Seller, or third parties.

                                                ARTICLE 8
                                              CLOSING DATE



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         SECTION 8.1. Closing Date ¶. The consummation of the transaction contemplated by this
Agreement (the “Closing”) shall take place on the “Closing Date” which shall be within the first business
day following the fourteenth (14th) Business Day from the date the Bankruptcy Court shall have entered the
final, non-appealable Confirmation Order (the “Scheduled Closing Date”), which “Closing Date” may be
extended for a period of no more than 90 days at the absolute discretion of Purchaser. The Scheduled
Closing Date or any such other date to which the Closing may be adjourned by Purchaser pursuant to the
terms of this Agreement, is referred to herein as the “Closing Date”. The Closing shall be held at the
offices of the Purchaser’s counsel, Dentons US LLP, located at 1221 Avenue of the Americas, New York,
New York 10020. Notwithstanding the foregoing, either Seller or Purchaser may elect to conduct the
Closing pursuant to an escrow arrangement through Title Company or as may otherwise be agreed upon
by Seller and Purchaser. The Purchaser may, in its sole discretion, elect for an earlier Closing Date
regardless of whether the Confirmation Order is at that point final and nonappealable.

                                               ARTICLE 9
                                          CLOSING DOCUMENTS

        SECTION 9.1. Closing¶
                            .

               9.1.1. At the Closing, contemporaneously with Purchaser’s delivery to Seller of all of the
Closing Documents required to be delivered by Purchaser hereunder, Seller shall deliver or cause to be
delivered to Purchaser, duly executed by Seller in recordable form, where applicable, those Closing
Documents to be delivered by Seller as set forth on Schedule IV attached hereto and made a part hereof.

                 9.1.2. At the Closing, contemporaneously with Seller’s delivery to Purchaser of all of the
Closing Documents required to be delivered by Seller hereunder, Purchaser shall deliver or cause to be
delivered to Seller those Closing Documents to be delivered by Purchaser, duly executed by Purchaser in
recordable form, where applicable, as set forth on Schedule V attached hereto and made a part hereof (the
documents described in this Section 9.1.1 and in Section 9.1.2 and all other documents required to be
delivered hereunder are referred to collectively as the “Closing Documents”).

        SECTION 9.2. Further Assurances¶      . Seller and Purchaser each agree, at any time and from time
to time at or after the Closing, to execute, acknowledge where appropriate, and deliver or cause to be
executed, acknowledged and delivered such further instruments and documents and to take such other
action as the other of them or the Title Company may reasonably request to carry out the intents and
purposes of this Agreement. The provisions of this Section 9.2 shall survive the Closing.

                                                 ARTICLE 10
                                                  NOTICES

          SECTION 10.1. Notices ¶. All notices, demands, consents, approvals, requests or other
communications which any of the parties to this Agreement may desire or be required to give hereunder
(collectively, “Notices”) shall be in writing and shall be given by personal delivery, or reputable overnight
courier service (charges prepaid), or email addressed as hereinafter provided, provided, however, that any
Notice given by email shall also be given within one Business Day by personal delivery or reputable
overnight courier service (charges prepaid). Except as otherwise specified herein, the time period in which
a response to any notice or other communication must be made, if any, shall commence to run on the
earliest to occur of (a) if by overnight express delivery or personal delivery, the date of receipt, or attempted
delivery, if such communication is refused; (b) if given by email, the date on which such email is transmitted
and confirmation of delivery thereof is received (provided same is followed within one Business Day with
hard copy sent by personal delivery or reputable overnight delivery service (charges prepaid)); and (c) if
sent by overnight courier service, one (1) Business Day after having been deposited for next day overnight
delivery with any reputable overnight courier service (charges prepaid), if such mailing is refused. Until
further notice, notices and other communications under this Agreement shall be addressed to the parties
listed below as follows:



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 If to Seller, to:        LEECH TISHMAN ROBINSON BROG

                          Attn: Fred B. Ringel, Esq.,

                          875 Third Avenue

                          New York, New York 10022

                          Email:fbr@leechtishman.com
                          Email: ls@leechtishman.com


 with a copy to:          [_________]

 If to Purchaser, to:     TH Holdco LLC

                          c/o Ohana Real Estate Investors

                          1991 Broadway, Suite 100

                          Redwood City, California 94063

                          Attn: John Ginochio, James Cole & Eddie Yu



                          With a copy to:

                          Dentons US LLP

                          1221 Avenue of the Americas

                          New York, New York 10020

                          Attn: Christopher Milenkevich, Esq.



                          and



                          Dentons US LLP

                          2398 East Camelback Road, Suite 850

                          Phoenix, Arizona 85016-9007

                          Attn: Richard F. Ross, Esq.




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        Any party may designate another addressee, and/or change its address, for Notices hereunder by
a Notice given pursuant to this Article 10.

                                                  ARTICLE 11
                                                   BROKER

         Pursuant to that certain order [Docket No. 133] (the “JLL Retention Order”) entered on October
12, 2021 by the Bankruptcy Court authorizing the retention of Jones Long LaSalle Americas, Inc. (“JLL”)
as real estate advisor for the Debtors, JLL marketed the Debtors’ Property. Pursuant to the JLL
engagement letter dated on or about September 4, 2021 (the “JLL Engagement Letter”), as extended by
written agreement attached as Exhibit 1 hereto, the terms of which were approved by the Bankruptcy Court,
JLL is owed a “Transaction Fee” (as defined in the JLL Engagement Letter, a copy of which is attached as
Exhibit 1 to the JLL Retention Order) for its services when certain conditions are met. Seller and Purchaser
each represents and warrants to the other that it has not dealt with any other broker, agent or any other
Person in connection with the transaction contemplated by this Agreement, besides JLL. Purchaser hereby
indemnifies Seller and holds Seller harmless from and against any and all claims for commission, fee or
other compensation by any other Person, other than JLL, who shall claim to have represented or dealt with
Purchaser in connection with this Agreement and for any and all costs incurred by Seller in connection with
such claims, including reasonable attorneys’ fees and disbursements. The Confirmation Order shall provide
that Purchaser shall have no liability for any and all claims for commission, fee or other compensation by
any Person, other than JLL, who shall claim to have represented Seller in connection with this Agreement.
The provisions of this Article 11 shall survive the Closing or the sooner termination of this Agreement.

                                               ARTICLE 12
                                           DEFAULTS; REMEDIES

         SECTION 12.1. Purchaser’s Default¶      . If Purchaser shall (a) fail or refuse to close as and when
required by the terms of this Agreement, or (b) otherwise be in default hereunder, which default shall
continue for ten (10) days after notice to Purchaser specifying such default, the parties hereto agree that
the damages that Seller would sustain as a result thereof would be substantial, but would be difficult to
ascertain. Accordingly, the parties hereto agree that in the event of such default, failure or refusal by
Purchaser, to close, Seller’s sole remedy shall be to terminate this Agreement. In such event, Purchaser
and Seller shall have no further rights or obligations under this Agreement, except those expressly provided
herein to survive the termination of this Agreement. Nothing contained in this Section shall limit or diminish
Purchaser’s obligations or liabilities under Article 6 or Section 19.10 hereof.

         SECTION 12.2. Seller’s Default¶     . If Seller shall (a) fail or refuse to close as required by the terms
of this Agreement or (b) otherwise be in default hereunder, which default shall continue for ten (10) days
after written notice to Seller thereof, then Purchaser’s sole remedy shall be to either (i) terminate this
Agreement or (ii) seek specific performance hereunder. Purchaser expressly agrees however, that
Purchaser shall not have the right to seek or recover any actual, consequential or punitive damages or any
similar additional sums or amounts against Seller for any breach occurring prior to Closing. Nothing herein
shall limit or diminish Seller’s obligations or liabilities under Article 7 or Section 19.10 hereof.

                                             ARTICLE 13
                                       CASUALTY; CONDEMNATION

         SECTION 13.1. Casualty¶     . Seller agrees to give Purchaser immediate notice of any fire or other
casualty occurring at the Property of which Seller obtains knowledge, between the date hereof and the date
of the Closing, or of any actual or threatened condemnation of all or any part of the Property of which Seller
obtains knowledge. If prior to the Closing there shall occur damage to the Property caused by fire or other
casualty which would cost an amount equal to a Material Part (as defined below) or more to repair, as
reasonably determined by an engineer selected by Seller which is reasonably satisfactory to Purchaser,
Purchaser may elect to terminate this Agreement by written notice given to Seller within ten (10) Business
Days after Seller has given Purchaser the notice referred to in this Section hereof, or at the Closing,


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whichever is earlier, in which event this Agreement shall thereupon be null and void and neither party hereto
shall thereupon have any further obligation to the other, except for the provisions hereof intended to survive
the termination of this Agreement. If Purchaser does not elect to terminate this Agreement, then the Closing
shall take place as herein provided, without abatement of the Purchase Price, and Seller shall assign to
Purchaser at the Closing, by written instrument, all of Seller’s interest in and to any insurance proceeds or
condemnation awards which may be payable to Seller on account of any such fire, casualty or
condemnation, and shall deliver to Purchaser any such proceeds or awards actually theretofore paid, less
any amounts (the “Reimbursable Amounts”) (i) actually and reasonably expended or incurred by Seller in
adjusting any insurance claim or negotiating and/or obtaining any condemnation award (including, without
limitation, reasonable attorneys’ fees and expenses) and/or (ii) theretofore actually and reasonably incurred
or expended by or for the account of Seller for the cost of any compliance with laws, protective restoration
or emergency repairs made by or on behalf of Seller. The proceeds of rent interruption insurance, if any,
shall on the Closing Date be appropriately apportioned between Purchaser and Seller. For purposes of
this Section 13.1, “Material Part” shall mean a casualty that causes damage that amounts to more than
ten (10%) percent of the Purchase Price.

         SECTION 13.2. Condemnation¶       . If, prior to the Closing, all or a Material Part (as hereinafter
defined) of the Property is taken by eminent domain, Purchaser may, by notice to Seller given within ten
(10) Business Days after notice from Seller to Purchaser of the taking, elect to cancel this Agreement. In
the event that Purchaser shall so timely elect, neither of the parties hereto shall have any rights or
obligations to the other hereunder except those expressly stated to survive the termination of this
Agreement. Unless this Agreement is so canceled, or if less than a Material Part of the Property is taken
by eminent domain, this Agreement shall remain in full force and effect in which event Seller shall, on the
Closing Date, and upon receipt of the balance of the Purchase Price, pay to Purchaser any sums of money
collected by Seller as an award for any taking by eminent domain, after deducting any reasonable amount
which Seller may have agreed or been obligated to pay in obtaining such award, including reasonable
attorneys’ fees and disbursements. Seller shall not negotiate, compromise, or settle any such award
without Purchaser’s prior consent, which consent shall not be unreasonably withheld, conditioned or
delayed. In addition, Seller shall assign, transfer and set over to Purchaser all of Seller’s right, title and
interest in and to any portion of any condemnation award not yet received by Seller. For purposes of this
Section 13.2, “Material Part” shall mean a taking of more than ten (10%) percent of the Purchase Price.
The provisions of this Article 13 are intended to constitute an “express provision to the contrary” within the
meaning of Section 5-1311 of the New York General Obligations Law. This provision shall survive the
Closing.

                                            ARTICLE 14
                                          AS-IS; WHERE-IS;
                                   DISCLAIMER; WAIVER OF CLAIMS

        SECTION 14.1. Disclaimers; As-Is, Where-Is Condition¶
                                                            .

                  14.1.1. Purchaser acknowledges and represents that it (a) is a sophisticated purchaser,
with experience in owning and operating real property in the nature of the Property, (b) realizes the nature
of this transaction, understands and is freely taking risks including the risks that Purchaser may be outbid
at an Auction, if any, involved in connection with this transaction, (c) has undertaken such independent
investigations and evaluations of the Property as it has determined to be necessary or desirable in
connection with the transaction contemplated herein, including the matters set forth in Section 14.1.2 below,
and (d) acknowledges that the foregoing is reflected in the Purchase Price and the terms upon which
Purchaser is willing to purchase and Seller is willing to sell.

                 14.1.2. Except as otherwise expressly set forth in this Agreement, the Property is being
sold by Seller and Purchaser agrees to accept the Property AS IS AND WHERE IS, in its condition on the
date hereof (subject to reasonable wear and tear and natural deterioration between the date hereof and the
Closing Date). Purchaser acknowledges, represents and warrants that (i) Purchaser has had ample
opportunity to make an independent investigation and examination of the Property (and all matters of every


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nature related thereto), and to become fully familiar with the physical condition, state of title, compliance
with Law and environmental conditions of the Property, (ii) Purchaser inspected, examined, investigated
and sampled the Property to its satisfaction and is familiar with the physical conditions, state of title,
compliance with Law and environmental conditions of the Property and uses thereof and will rely on that
inspection, examination, investigation and sampling, (iii) Purchaser has inspected, examined and
investigated to its satisfaction all laws, ordinances, and governmental rules and regulations relating thereto
and is purchasing the Property subject to any Violations thereof, (iv) Purchaser has inspected and examined
to its satisfaction all licenses and permits relating to the facility, including but not limited to environmental
and operational permits, and it agrees to be bound by the terms of those licenses and permits and/or will
ensure that it obtains new or additional licenses and permits to fully comply with all applicable governmental
rules and regulations, (v) Purchaser has independently investigated, analyzed and appraised the value and
the profitability of the Property, (vi) Purchaser has independently investigated the tenant files made
available for review by Purchaser and all other due diligence documents delivered to Purchaser by Seller,
(vii) Purchaser has independently investigated and evaluated all matters of a financial nature relating to the
Property, and (viii) Purchaser has been in possession of the Property and has been managing same, and
(ix) Seller has not made and shall not make any verbal or written representations, warranties or statements
of any nature or kind whatsoever to Purchaser, whether express or implied, except as expressly set forth
in this Agreement, with respect to the above, and, in particular, except as expressly set forth herein, no
representations or warranties have been made or shall be made with respect to (a) the physical condition
or operation of the Property, including the existence of any environmental hazards or conditions thereon
(including the presence of asbestos containing materials or the release or threatened release of Hazardous
Materials), (b) the revenues or expenses of the Property, (c) the zoning and other laws applicable to the
Property or the compliance of the Property therewith, (d) the status of any approvals required for the
development of the Property, (e) the nature and extent of any matter affecting title to the Property or to any
Personalty, (f) the quantity, quality, or condition of the Personalty, or (g) any other matter or thing affecting
or relating to the Property, or any portion thereof, the interests therein to be conveyed to Purchaser pursuant
to the terms of the transactions contemplated hereby or the status thereof. Purchaser has had the
opportunity to inspect the Property and will rely on that inspection and its other investigations and
evaluations of the Property.

                 14.1.3. Except as expressly set forth in this Agreement, Purchaser acknowledges that
Seller has not made, and Seller is not liable for or bound in any manner by, any express or implied
warranties, guarantees, promises, statements, inducements, representations or information pertaining to
the Property or any part thereof, the physical condition, size, zoning, income, expenses or operation thereof,
the uses which can be made of the same or of any other manner or thing with respect thereto. Without
limiting the foregoing, Purchaser acknowledges and agrees that Seller is not liable for or bound by, and
Purchaser has not relied upon, any verbal or written statements, representations, or any other information
respecting the Property furnished by Seller or any broker, employee, agent, consultant or other person
representing or purportedly representing Seller.

                 14.1.4. Intentionally omitted.

                 14.1.5. Purchaser waives any and all rights to bring an action or a claim against Seller
arising out of or related to (i) the past, present, or future environmental condition associated with the
Property, (ii) past, present, or future environmental remediation of the Property, (iii) implied statements,
representations and/or warranties made by Seller or Seller’s agents concerning the environmental
conditions of the Property and (iv) violation of any Environmental Law or liability imposed pursuant to any
Environmental Law.

                 14.1.6. Purchaser waives any and all rights to bring an action or claim against Seller for
contribution or indemnification related to the cost or expenses that Purchaser may incur to investigate or
remediate the Property and/or to defend against any governmental, citizen, or private actions or
proceedings arising out of or related to the past, present, or future environmental conditions of the Property.

               14.1.7. Except as set forth in this Agreement, Seller hereby specifically disclaims any
warranty, guaranty, oral or written, express or implied or arising by operation of law or otherwise, with

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respect to the matters referred to in this Section 14.1 and any warranty of condition, habitability,
merchantability or fitness for a particular purpose, in respect to the Property. Purchaser declares and
acknowledges that this express disclaimer shall be considered a material and integral part of this sale and
is reflected in the consideration payable by Purchaser hereunder and, as an inducement for Seller to
proceed with this transaction, Purchaser further declares and acknowledges that this disclaimer has been
brought to the attention of Purchaser and explained in detail and that Purchaser has voluntarily and
knowingly consented thereto.

         SECTION 14.2. Acceptance of Closing Documents; Waivers ¶. Except for those matters
expressly set forth in this Agreement to survive the Closing and except for the agreements of Seller and
Purchaser set forth in the Closing Documents or otherwise entered into at the Closing, Purchaser’s
acceptance of the Deed(s) and the other Closing Documents shall be and be deemed to be an
acknowledgment by Purchaser that Seller has fully performed, discharged and complied with all of Seller’s
obligations, covenants and agreements hereunder to be performed prior to Closing and that Seller shall
have no further liability with respect thereto.

        SECTION 14.3. Survival¶
                              . The provisions of this Article 14 shall survive the Closing.

                                           ARTICLE 15
                                 ASSUMED LEASES AND CONTRACTS

         SECTION 15.1. Assumption and Assignment of Leases and Security Deposits.¶              , Upon the
Closing Date, as to any Lease or Contract so designated by Purchaser in its sole discretion, Seller shall
assign to Purchaser, and from and after the Closing Date, Purchaser does hereby agree to assume, any
and all rights and liabilities in connection with such designated Leases, the Rents (including any arrears)
and Security Deposits, as further set forth in the Assignment and Assumption and Assumption of Lease
and Security Deposits attached hereto as Exhibit C and made a part hereof.

          SECTION 15.2. Assumption and Assignment of Contracts.¶Upon the Closing Date, Seller shall
assign to Purchaser, and from and after the Closing Date, Purchaser does hereby agree to assume, any
and all liabilities in connection with the Contracts as set forth on Exhibit F, attached hereto and made a part
hereof.

                                                ARTICLE 16
                                           Intentionally Omitted

                                            ARTICLE 17
                                       BANKRUPTCY PROVISIONS

        SECTION 17.1. Competing Transaction ¶. Purchaser acknowledges and understands this
Agreement is part of an extensive process undertaken by the Debtors’ Estates and Purchaser in the
Debtors’ Chapter 11 Cases to identify and negotiate a transaction with a bidder who is prepared to pay the
highest and best purchase price for the Properties. As such, this Agreement is subject to approval by the
Bankruptcy Court. The Confirmation Order shall be in a form reasonably acceptable to Purchaser and
Seller and shall contain, without limitation, the following provisions:

               (i)    a finding that the proposed sale of the Properties was proper and sufficient under
the Bankruptcy Code and the Bankruptcy Rules, and that all parties in interest entitled to notice of the Sale
received such notice;

                (ii)   except as set forth in Article 4, the sale of the Properties will be free of all Liens
pursuant to Section 1123(a)(5)(D) of the Bankruptcy Code;




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               (iii)   Purchaser is not a mere continuation of Seller, there is no continuity of enterprise
between Seller and Purchaser, Purchaser is not a successor to Seller and the transactions contemplated
by this Agreement do not amount to, or otherwise constitute a consolidation, merger or de facto merger of
Purchaser and Seller;

                (iv)    Seller will reject or terminate, as applicable, all unexpired leases, executory
contracts, tenancies and occupancies and Buyer shall not assume and is buying free and clear of all such
unexpired leases, executory contracts, tenancies and occupancies listed on Schedule V; and

                 (v)     all Persons are enjoined from in any way pursuing Purchaser or the Properties by
suit or otherwise to recover on any Liens which they may have against Debtor or the Properties as of the
Closing Date.

        SECTION 17.2. Intentionally Omitted¶
                                           .

         SECTION 17.3. Bankruptcy Court Filings¶       . As promptly as practicable following the execution of
this Agreement, Seller shall, at its sole costs and expense, file with and seek the approval of the Bankruptcy
Court for the transactions contemplated hereby. Purchaser agrees that it will promptly take such actions
as are reasonably requested by Seller to assist in obtaining entry of the Confirmation Order including
furnishing affidavits or other Documents or information for filing with the Bankruptcy Court for the purposes
of, among other things, providing necessary assurances of performance by Purchaser under this
Agreement. In the event the entry of the Confirmation Order shall be appealed, each party shall use its
respective commercially reasonable efforts to defend against such appeal.

        SECTION 17.4. Intentionally Omitted¶
                                           .

        SECTION 17.5. Closing In The Event Of The Filing Of The Notice Of Appeal From The
Confirmation Order¶   . In the event the Bankruptcy Court enters the Confirmation Order and a notice of
appeal is filed by any person or entity and no stay of the Confirmation Order is granted by the Bankruptcy
Court or any other court with competent jurisdiction, Purchaser shall not be obligated to close the
transaction approved by the Confirmation Order until any applicable appeal is exhausted.

                                                ARTICLE 18
                                           Intentionally Omitted

                                               ARTICLE 19
                                            MISCELLANEOUS

         SECTION 19.1. Entire Agreement ¶. The Plan, this Agreement, the Exhibits and Schedules
annexed hereto, and any contemporaneously executed agreements, are the entire agreement between
Seller and Purchaser concerning the sale of the Property and all understandings and agreements
heretofore had or made between the parties hereto are merged in this Agreement which, together with
aforementioned agreements and other items, alone fully and completely expresses the agreement of the
parties hereto.

        SECTION 19.2. Modification¶     . Except as otherwise provided herein, this Agreement may not be
changed, modified, supplemented or terminated, except by an instrument executed by the parties hereto
which are or will be affected by the terms of such change, modification, supplement or termination. Either
party hereto may waive any of the terms and conditions of this Agreement made for its benefit, provided
such waiver is in writing and signed by the party waiving such term or condition.

       SECTION 19.3. Binding Agreement¶     . Subject to the provisions of this Agreement, the terms,
covenants, agreements, conditions, representations and warranties contained in this Agreement shall inure



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to the benefit of and be binding upon the respective parties hereto. This Agreement shall not inure to the
benefit of or be enforceable by any other Person.

          SECTION 19.4. Assignment¶      . Purchaser shall have the right to assign all rights of Purchaser
hereunder to one or more (i) affiliate or affiliates of the Purchaser or (ii) third-party or third parties designated
by Purchaser, for the purpose of acquiring title. Such right of assignment shall be exercised on notice to
Seller on or prior to the Closing Date. Nothing herein shall prevent Purchaser from assigning its right to
acquire title to each parcel that makes up the Property to multiple entities. Purchaser shall provide
reasonable allocations of the Purchase Price for each of the parcels that make up the Property to Seller on
or prior to the Closing.

         SECTION 19.5. Illegality¶ . If any term or provision of this Agreement or the application thereof to
any Person or circumstance shall, to any extent, be invalid or unenforceable, the remainder of this
Agreement or the application of such term or provision to Persons or circumstances other than those as to
which it is held invalid or unenforceable, shall not be affected thereby and each term and provision of this
Agreement shall be valid and enforced to the fullest extent permitted by Law.

      SECTION 19.6. Choice of Law¶
                                 . EXCEPT IN SUCH MATTERS AS ARE GOVERNED BY THE
BANKRUPTCY CODE, THIS AGREEMENT AND THE EXHIBITS AND SCHEDULES ANNEXED
HERETO, SHALL BE GOVERNED BY, INTERPRETED UNDER, AND CONSTRUED AND ENFORCED
IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF NEW YORK WITHOUT REGARD
TO PRINCIPLES OF CONFLICTS OF LAW.

        SECTION 19.7. Construction¶     . The headings and captions of the various Articles and Sections of
this Agreement have been inserted solely for purposes of convenience, are not part of this Agreement, and
shall not be deemed in any manner to modify, explain, expand or restrict any of the provisions of this
Agreement. Unless stated to the contrary, all references to Articles, Sections, paragraphs or clauses herein
shall be to the specified Article, Section, paragraph or clause of this Agreement, and all references to
Exhibits and Schedules shall be to the specified Exhibits and Schedules attached hereto. All Exhibits and
Schedules attached hereto are made a part hereof. All terms defined herein shall have the same meaning
in the Exhibits and Schedules, except as otherwise provided therein. All references in this Agreement to
“this Agreement” shall be deemed to include the Exhibits and Schedules attached hereto. The terms
“hereby”, “hereof”, “hereto”, “hereunder” and any similar terms as used in this Agreement, refer to this
Agreement in its entirety and not only to the particular portion of this Agreement where the term is used.
Whenever in this Agreement provision is made for the payment of attorneys’ fees, such provision shall be
deemed to mean reasonable attorneys’ fees and paralegals’ fees. The term “including” when used herein
shall mean “including, without limitation.” Wherever in this Agreement the singular number is used, the
same shall include the plural, and the masculine gender shall include the feminine and neuter genders, and
vice versa, as the context shall require.

         SECTION 19.8. Binding Effect; Assignment; Successors and Assigns¶            . This Agreement shall
apply to, be binding in all respects upon and inure to the benefit of the parties and their respective
successors, administrators and permitted assigns. A successor to Seller shall include Seller as a liquidated
debtor. Except to the extent provided for in Section 19.4 of this Agreement, no assignment of this
Agreement or of any rights or obligations hereunder may be made by any party (by operation of Law or
otherwise) without the prior written consent of Purchaser and Seller and any attempted assignment without
the required consents shall be void. No permitted assignment of any rights hereunder and/or assumption
of obligations hereunder shall relieve the parties hereto of any of their obligations. Nothing expressed or
referred to in this Agreement will be construed to give any Person other than the parties to this Agreement
any legal or equitable right, remedy or claim under or with respect to this Agreement or any provision of this
Agreement. This Agreement and all of its provisions and conditions are for the sole and exclusive benefit
of the parties to this Agreement and their respective successors, administrators and permitted assigns.

      SECTION 19.9. Ambiguities¶ . Each party acknowledges that it and its counsel have reviewed this
Agreement, and the parties hereby agree that the normal rule of construction to the effect that any


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ambiguities are to be resolved against the drafting party shall not be employed in the interpretation of this
Agreement.

         SECTION 19.10. Expenses¶     . If any legal action or other proceeding is brought for the enforcement
of this Agreement or because of an alleged dispute, breach, default or misrepresentation in connection with
any of the provisions of this Agreement, the successful or prevailing party or parties shall be entitled to
recover its fees and costs, including reasonable attorneys’ fees, court costs and other costs incurred in
such action or proceeding, in addition to any other relief to which it or they may be entitled. The provisions
of this Section shall survive the Closing or earlier termination of this Agreement.

        SECTION 19.11. Counterparts¶    . This Agreement may be executed in counterparts, each of which
together shall be deemed to be an original and all of which shall constitute one and the same Agreement.
Any counterpart may be executed by PDF signature and such PDF signature shall be deemed an original.

      SECTION 19.12. Waiver of Trial by Jury¶
                                            . THE RESPECTIVE PARTIES HERETO SHALL AND
THEY HEREBY DO WAIVE TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
BROUGHT BY EITHER OF THE PARTIES HERETO AGAINST THE OTHER ON ANY MATTERS
WHATSOEVER ARISING OUT OF OR IN ANY WAY CONNECTED WITH THIS AGREEMENT, OR FOR
THE ENFORCEMENT OF ANY REMEDY UNDER ANY STATUTE, EMERGENCY OR OTHERWISE. THE
PROVISIONS OF THIS SECTION SHALL SURVIVE THE CLOSING OR EARLIER TERMINATION OF
THIS AGREEMENT.

        SECTION 19.13. Third Party Beneficiaries¶      . Except as expressly set forth herein, no Person other
than the parties hereto, shall have any rights or claims under this Agreement.

        SECTION 19.14. Jurisdiction¶
                                   .

             19.14.1.    FOR THE PURPOSES OF ANY SUIT, ACTION OR PROCEEDING
INVOLVING THIS AGREEMENT, PURCHASER AND SELLER EACH HEREBY EXPRESSLY SUBMIT TO
THE JURISDICTION OF THE BANKRUPTCY COURT AND PURCHASER AND SELLER EACH AGREE
THAT SUCH COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ANY SUCH SUIT, ACTION OR
PROCEEDING COMMENCED BY EITHER PARTY.

             19.14.2.    PURCHASER AND SELLER EACH HEREBY IRREVOCABLY WAIVE
ANY OBJECTION THAT IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY
SUIT, ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS AGREEMENT BROUGHT
IN ANY FEDERAL OR STATE COURT SITTING IN THE COUNTY OF NEW YORK IN THE STATE OF
NEW YORK AND HEREBY FURTHER IRREVOCABLY WAIVE ANY CLAIM THAT ANY SUCH SUIT,
ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT HAS BEEN BROUGHT IN AN
INCONVENIENT FORUM.

            19.14.3.    THE PROVISIONS OF THIS SECTION SHALL SURVIVE THE CLOSING
OR EARLIER TERMINATION OF THIS AGREEMENT.

         SECTION 19.15. No Recording¶       . Purchaser covenants and agrees that it has no right and in no
event will Purchaser record or cause to be recorded this Agreement or any memorandum hereof or affidavit,
assignment or other document relating to this Agreement prior to the Closing and, if Purchaser breaches
the provisions of this Section, Seller shall have the option of terminating this Agreement. Notwithstanding
anything in the Section to the contrary, Purchaser shall be able to file and record a lis pendens if such is
necessary to preserve its rights under this Agreement, including but not limited to in connection with an
action for specific performance.

       SECTION 19.16. Not an Offer¶   . Notwithstanding anything herein to the contrary, it is to be strictly
understood and agreed that (a) the submission by Seller to Purchaser of any drafts of this Agreement or
any correspondence with respect thereto shall (i) be deemed submission solely for Purchaser’s


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consideration and not for acceptance and execution, (ii) have no binding force or effect, (iii) not constitute
an option for the purchase of the Property or a lease or conveyance of the Property by Seller to Purchaser
and (iv) not confer upon Purchaser or any other party any title or estate in the Property, (b) the terms and
conditions of this Agreement shall not be binding upon either party hereto in any way unless and until it is
unconditionally executed and delivered by both parties in their respective sole and absolute discretion and
all conditions precedent to the effectiveness thereof shall have been fulfilled or waived, and (c) if this
Agreement is not so executed and delivered for any reason whatsoever (including, without limitation, either
party’s willful or other refusal to do so or bad faith), neither party shall be liable to the other with respect to
this Agreement on account of any written or parole representations, negotiations, any legal or equitable
theory (including, without limitation, part performance, promissory estoppel, or undue enrichment) or
otherwise.

        SECTION 19.17. Intentionally Omitted¶
                                            .

          SECTION 19.18. No Waiver¶        . The failure of either party hereto to seek redress for any breach, or
to insist upon the strict performance, of any covenant or condition of the Agreement by the other shall not
be, or be deemed to be, a waiver of the breach or failure to perform (unless the time specified herein for
the exercise of such right, or satisfaction of such condition, has expired), nor prevent a subsequent act or
omission in violation of, or not strictly complying with, the terms hereof from constituting a default hereunder.

         SECTION 19.19. Severability ¶. If any term, condition or provision of this Agreement or the
application thereof to any circumstance or party hereto, is invalid or unenforceable as against any person
or under certain circumstances, the remainder of this Agreement and the applicability of such term,
condition or provision to other persons or circumstances shall not be affected thereby. Each term, condition
or provision of this Agreement shall be valid and enforceable to the fullest extent permitted by law.

         SECTION 19.20. No Survival¶   . The delivery and acceptance of the Deed(s) at the Closing shall
be deemed to constitute full compliance by Seller with all of the terms, conditions and covenants of this
Agreement on Seller’s part to be performed, and, except as expressly set forth in this Agreement, the
representations, warranties, covenants or other obligations of Seller set forth in this Agreement shall not
survive the Closing, and no action based thereon shall be commenced after the Closing.

         SECTION 19.21. Tax-Free Exchange ¶. Either party may, at its sole cost and expense,
consummate the transaction as part of a like-kind exchange (the “Exchange”) pursuant to Section 1031 of
the Code, provided that: (i) the Exchange is effected through a qualified intermediary (as defined in Treas.
Reg. Section 1.1031(k)-1(g)(4)(iii)) and the other party is not be required to: (A) acquire or hold title to any
real property other than the Premises; or (B) incur any costs to third parties (other than such party’s
obligation under this Agreement for the benefit of the qualified intermediary) for purposes of consummating,
or otherwise in connection with, the Exchange. Each party shall reasonably cooperate with the other, at
the other party’s cost and expense, to effectuate the Exchange, including the execution of a trust or escrow
agreement or any other document or instrument customarily entered into with a qualified intermediary to
effectuate the Exchange, provided that the Exchange and the related documentation shall not be contrary
to or inconsistent with the terms of this Agreement.

                  THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK.
                          SIGNATURES FOLLOW ON THE NEXT PAGE.




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       IN WITNESS WHEREOF, the parties have executed this Agreement as of the day and year first
above written.

SELLERS

                85 FLATBUSH RHO HOTEL LLC,
                a New York limited liability company



                By: _________________________
                Name:
                Title: Authorized Signatory

                85 FLATBUSH RHO RESIDENTIAL LLC,
                a New York limited liability company



                By: __________________________
                Name:
                Title: Authorized Signatory




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PURCHASER

TH HOLDCO LLC,
a Delaware limited liability company

By: OREI Long Term Equity Fund LP
     Its: Managing Member

By: OREI Long Term Equity Fund GP LP
     Its: General Partner


By:____________________________
    Name: Franco Famularo
    Title: Authorized Signatory




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                          SCHEDULE I TO PURCHASE AND SALE AGREEMENT
                                                DEFINITIONS


        For all purposes of this Agreement, the following terms shall have the respective meanings
specified below:

         “Affiliate” means a Person that: (a) directly, or indirectly through one or more intermediaries,
controls, is controlled by or is under common control with a specified Person; (b) is a director or officer of a
specified Person or of an Affiliate of such specified Person within the meaning of clause (a) above; (c) is a
partner, member, beneficiary of a trust or other owner of any stock or other evidence of beneficial ownership
in a specified Person or an Affiliate of such specified Person within the meaning of clause (a) above; or (d)
is related as an ancestor, descendant, sibling, or is the current spouse of a specified Person or an Affiliate
of such specified Person within the meaning of clause (a) above.

        “Agreement” means this Agreement, the Exhibits and Schedules and all amendments,
modifications and extensions hereto and thereto.

        “Apportionment Date” shall have the meaning set forth in Section 4.1.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New
York.

        “Bidding Procedures Order” means the order entered by the Bankruptcy Court on May 26, 2022
and identified on the ECF docket as document no. 210 approving the Sale and Bid Procedures. .

        “Business Day” means each day, except Saturdays, Sundays and all days observed by the
federal government as legal holidays.

        “Cash” means legal tender of the United States of America.

        “Closing” shall have the meaning set forth in Section 8.1.

        “Closing Date” shall have the meaning set forth in Section 8.1.

        “Closing Documents” shall have the meaning set forth in Section 9.1.2.

        “Condemnation” means any condemnation, taking or any damages to the interest in the Real
Estate by reason of a change of grade of any street, road or avenue.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan.

       “Deed” means the deed to the Real Estate to be delivered by Seller to Purchaser pursuant to
Schedule IV.

        “Exchange” shall have the meaning set forth in Section 19.21.

        “Governmental Authority” shall have the meaning set forth in Section 3.3.8.

        “Hazardous Material” shall mean all materials and substances now or hereafter subject to any
Environmental Laws, including (i) all substances which are designated pursuant to Section 311(b)(2)(A) of
the Federal Water Pollution Control Act (“FWPCA”), 33 U.S.C. § 1251, et seq., (ii) any element, compound,
mixture, solution, or substance which is designated pursuant to Section 102 of the Comprehensive
Environmental Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. § 9601, et seq., (iii) any



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hazardous waste having the characteristics which are identified under or listed pursuant to Section 3001 of
the Resource Conservation and Recovery Act, 42 U.S.C. § 6901, et seq., (iv) any toxic pollutant listed under
Section 307(a) of FWPCA, (v) any hazardous air pollutant which is listed under Section 112 of the Clean
Air Act, 42 U.S.C. § 7401, et seq., (vi) any imminently hazardous chemical substance or mixture with respect
to which action has been taken pursuant to Section 7 of the Toxic Substances Control Act, 15 U.S.C. §
2601, et seq., (vii) “hazardous materials” within the meaning of the Hazardous Materials Transportation Act,
49 U.S.C. § 5101, et seq., (viii) any element or compound contained in the list of hazardous substances
adopted by the United States Environmental Protection Agency (“EPA”) or by the New York Department of
Environmental Conservation (“DEC”), (ix) petroleum or petroleum by-products, (x) ACM, (xi) any radioactive
material or substance, (xii) all toxic wastes, hazardous wastes and hazardous substances as defined by,
used in, controlled by, or subject to all implementing regulations adopted and publications promulgated
pursuant to the foregoing statutes, and (xiii) any other hazardous or toxic substance or pollutant identified
in or regulated under any other applicable federal, state or local Environmental Laws.

          “Law” means any law, rule, code, regulation, ordinance, moratorium, injunctive proceeding,
restriction or similar matter imposed by any federal, state, municipal or local government or any public or
quasi-public board, authority, commission, agency or department thereof having jurisdiction over the
Property, or any portion thereof and/or Purchaser or Seller.

         “Leases” shall mean the leases, licenses or other agreements, written or oral, regarding the right
to use or occupy all or any portion of the Property, to which Seller is a party or by which Seller is bound of
all or any portion of the Property.

        “Liens” shall have the meaning set forth in Section 3.1.1.

        “Material Part” shall have the meaning set forth in Section 13.2.

        “Net Proceeds” shall have the meaning set forth in Section 3.1.1.

        “Non-Permitted Exceptions” shall have the meaning set forth in Section 3.2.1.

        “Notices” shall have the meaning set forth in Section 10.1.

        “Permitted Exceptions” shall have the meaning set forth in Section 3.3.

        “Person” means an individual, corporation, partnership, limited liability company, limited liability
partnership, joint venture, association, joint stock company, trust, un-incorporated organization or the
federal government or any state or local government or any agency or political subdivision thereof.

        “Personalty” shall have the meaning set forth in Section 2.1.1.

        “Property” shall have the meaning set forth in Section 2.1.1.

        “Properties” shall have the meaning set forth in Section 2.1.1.

        “Property Contracts” shall mean all management, service, telecommunications, information
service, equipment, supply and maintenance contracts, construction contracts in connection with the
Properties that exist on the Effective Date to which Seller is bound or a party to.

        “Purchase Price” shall have the meaning set forth in Section 2.2.1.

        “Purchaser” shall mean TH Holdco LLC, a Delaware limited liability company.

       “Purchaser-Related Parties” means, individually and collectively, and to the extent applicable, (i)
Purchaser, (ii) Affiliates of Purchaser, and (iii) the shareholders, officers, directors, employees, members


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and constituent partners of Purchaser and/or of any direct or indirect partner or member of or corporate
joint-venturer with Purchaser, and/or of any Affiliate of Purchaser.

        “Real Estate” shall have the meaning set forth in Section 2.1.1.

        “RE Tax Returns” shall have the meaning set forth in Section 4.8.

        “Rents” shall have the meaning set forth in Section 4.1.4.

         “Sale Proceeds” means any cash proceeds from the Sale Transaction net of closing costs directly
related to the Sale Transaction including but not limited to Debtors’ brokerage fees, title costs and other
ordinary and necessary costs of, or credits related to, the transfer of title of the Hotel Property and/or
Residential Property.

         “Sale Transaction” shall mean the sale of the Hotel Property and/or Residential Property pursuant
to the Plan.

        “Scheduled Closing Date” shall have the meaning set forth in Section 8.1.

        “Seller” shall have the meaning set forth in the Recitals.

      “Seller-Related Parties” means individually and collectively, Seller and its officers, directors,
members, employees, agents, representatives and contractors and Affiliates of Seller.

        “Tenant” shall mean the then tenant under the Leases.

        “Title Company” shall have the meaning set forth in Section 3.1.

        “Title Report” means the Certificate of Title issued by the Title Company.

        “Transfer Tax” shall have the meaning set forth in Section 4.7.

         “Unavoidable Delay” shall mean any delays due to strikes, acts of God, governmental restrictions,
enemy action, civil commotion, fire, unavoidable casualty or other causes similarly beyond the control of
Seller; provided, however, that any lack of funds shall not be deemed a cause beyond the control of Seller.

        “Violations” shall have the meaning set forth in Section 3.3.8.




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                                      SCHEDULE II

                                 PROPERTY DESCRIPTION




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                                      SCHEDULE III

                                   Intentionally Omitted




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                                               SCHEDULE IV

                       CLOSING DOCUMENTS TO BE DELIVERED BY SELLER

        1.      Statutory form of bargain and sale deed without covenants (the “Deed”) substantially in the
form attached hereto as Exhibit A containing the covenant required by Section 13 of the Lien Law, and
properly executed and acknowledged so as to convey the title required to be conveyed by Seller under this
Agreement.

         2.      Bank or certified check(s), payable to the direct order of the appropriate tax collecting
agencies or officials, in the amount of all documentary stamp and transfer and transfer gains taxes, and
other taxes, fees and charges, payable by reason of or in connection with the conveyance and transfer of
the Property by Seller to Purchaser. In lieu of delivering such bank or certified checks, Seller may elect, by
written notice to Purchaser given at least two (2) Business Days prior to Closing, to have Purchaser pay
any of such taxes and charges and give Purchaser a credit on the Closing Date against the Purchase Price
in the amount thereof.

       3.     Copies of any required real property transfer tax returns properly executed and
acknowledged by Seller and Purchaser, as applicable.

         4.        All documents, as shall be reasonably necessary to evidence that Seller has proper
authority to sell the Property and deliver the documents required to be delivered by Seller pursuant to this
Agreement.

         5.      All keys to entrance doors to, and equipment and utility rooms located in, the Property and
in Seller’s possession.

         6.      A certificate of a duly authorized representative of Seller, sworn to under penalties of
perjury, setting forth Seller’s U.S. tax identification number and stating that Seller is a “United States
person” within the meaning of Sections 1445(f)(3) and 7701(a)(30) of the tax Code.

        7.       To the extent such are in the possession or control of Seller or its managing agent, original
copies of all guarantees and warranties then in effect in respect of the Property.

        8.       To the extent such are in the possession or control of Seller or its managing agent, original
licenses and permits to be transferred hereunder, except to the extent the same are required to be and
located at or are affixed of the Property.

       9.      Certificate of an authorized representative of Seller with respect to the authority of the
person(s) executing this Agreement and the other Closing Documents on behalf of Seller, if applicable.

       10.     A Bill of Sale, without warranty, recourse or representation, conveying the Personalty to
Purchaser substantially in the form attached hereto as Exhibit B.

        11.      All existing surveys and building plans for the Property and the improvements thereon to
the extent in Seller’s possession.

        12.     An Assignment and Assumption of Lease and Security Deposit, substantially in the form of
Exhibit C attached hereto and made a part hereof, properly executed and acknowledged by Seller and
Purchaser.

        13.     All original Leases and tenant documents, to the extent in the possession of Seller. In the
event such original lease files are not in the possession of Seller, a certified copy of all Leases.




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       14.      A certified Rent Roll in the form attached as Exhibit D, stating the rent amount paid as of
such date, and all security deposits being held, and any arrears schedule.

        15.     A certificate dated as of Closing, certifying that all of the representations and warranties
made by Seller herein are true and correct in all material respects or, to the extent the facts and
circumstances arising after the date hereof underlying such representations and warranties may have
changed as of the Closing, Seller shall certify as to such changed facts and circumstances.

          16.      Any Title Affidavit or similar document required by the Title Company required in order to
deliver title to the Properties to Purchaser in the manner required by this Agreement.




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                                              SCHEDULE V

                                PURCHASER’S CLOSING DOCUMENTS

       1.     Copies of any required real property transfer tax returns properly executed and
acknowledged by Purchaser and Seller.

         2.      All documents as shall be reasonably necessary to evidence that Purchaser has proper
authority to purchase the Property and deliver the documents required to be delivered by Purchaser
pursuant to this Agreement.

       3.      Certificate of an authorized representative of Purchaser with respect to the authority of the
person(s) executing this Agreement and the other Closing Documents on behalf of Purchaser.

        4.      Certificate in form and substance reasonably acceptable to Seller, signed and
acknowledged by an authorized representative of Purchaser, restating and attesting, except as otherwise
permitted pursuant to the terms of this Agreement, to be true and correct as of the Closing Date each of
the represents and warranties of Purchaser set forth in this Agreement.

        5.      An Assignment and Assumption of Lease and Security Deposit, substantially in the form of
Exhibit C attached hereto and made a part hereof, properly executed and acknowledged by Seller and
Purchaser.

        6.      A certificate dated as of Closing, certifying that all of the representations and warranties
made by Purchaser herein are true and correct in all material respects or, to the extent the facts and
circumstances arising after the date hereof underlying such representations and warranties may have
changed as of the Closing, Purchaser shall certify as to such changed facts and circumstances.




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                                                     SCHEDULE V

           REJECTED/TERMINATED/UNASSUMED UNEXPIRED LEASES, EXECUTORY CONTRACTS,
                                TENANCIES AND OCCUPANCIES

                                                  Unexpired Leases

      Debtor                                         Real Property Lease Street Address             Rejection/Termination
    Counterparty                 Tenant                                                                     Date
                                                Street Address         City        State     ZIP
  85 Flatbush RHO                              85 Flatbush Ave.
                          Allison Chetrit           Ext. 10J         Brooklyn       NY      11201         6/30/2022
  Residential LLC

                                               85 Flatbush Ave.
                          Brenda Delores
  85 Flatbush RHO                                  Ext. 11F          Brooklyn       NY      11201         6/30/2022
                              Ballard
  Residential LLC

                          Jonathan David       85 Flatbush Ave.
  85 Flatbush RHO                                   Ext. 8F          Brooklyn       NY      11201         6/30/2022
                             Haygood
  Residential LLC

                          Mariel A. Colon      85 Flatbush Ave.
  85 Flatbush RHO                                   Ext. 8A          Brooklyn       NY      11201         6/30/2022
                               Miro
  Residential LLC

                                               85 Flatbush Ave.
                            Monique N.
  85 Flatbush RHO                                   Ext. 7H          Brooklyn       NY      11201         6/30/2022
                             Henley
  Residential LLC



                                                 Executory Contracts

                                                                                                    Rejection/Termination
 Debtor Counterparty        Contract Counterparty                 Description of Contract                   Date


  85 Flatbush RHO
                                                          Property Management Agreement                   6/30/2022
  Residential LLC       Plaza Management USA, Inc.


85 Flatbush RHO Hotel
                                                            Maintenance Service Contract                  6/30/2022
         LLC                 Greater Shield LLC

85 Flatbush RHO Hotel
                                                                      Linen Services                      6/30/2022
         LLC               MR Linen Services LLC




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                                       EXHIBIT A

                                          DEED

                                      [See Attached]




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                                      Bargain and Sale Deed

                            WITHOUT COVENANT AGAINST GRANTOR’S ACTS

            85 FLATBUSH RHO HOTEL LLC and 85 FLATBUSH RHO RESIDENTIAL LLC,
                          each a Delaware limited liability company


                                                TO


                                       TH HOLDCO LLC,
                                a Delaware limited liability company

                              ADDRESS:        85 Flatbush Extension
                                              Condominium Commercial Unit
                                              and Hotel Unit
                                              Brooklyn, New York 11201

                              BLOCK:          120

                              LOTS:           1201 and 1202

                              COUNTY:         Kings

                              ADDRESS:        85 Flatbush Extension
                                              Condominium Residential Unit
                                              Brooklyn, New York 11201

                              BLOCK:          120

                              LOTS:           1203

                              COUNTY:         Kings



                                      RETURN BY MAIL TO:

                                      Dentons US LLP
                                      1221 Avenue of the Americas
                                      New York, New York 10020
                                      Attn: Christopher Milenkevich, Esq.




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BARGAIN AND SALE DEED WITHOUT COVENANT AGAINST GRANTOR’S ACTS THIS INDENTURE,
made as of this ____ day of ____________, 2022

BETWEEN 85 FLATBUSH RHO HOTEL LLC and 85 FLATBUSH RHO RESIDENTIAL LLC,
each a Delaware limited liability company having an address at c/o Cornell Realty Management LLC, 75
Huntington Street, Brooklyn, New York 11231 (collectively “Seller”) party of the first part, and TH HOLDCO
LLC, a Delaware limited liability company, whose address is c/o Ohana Real Estate Investors, 1991
Broadway, Suite 100, Redwood City, California 94063, party of the second part,

WITNESSETH, that the party of the first part, in consideration of ten dollars and other valuable
consideration paid by the party of the second part, does respectively hereby grant and release unto the
party of the second part, the heirs or successors and assigns of the party of the second party forever,

ALL that certain plot, piece or parcel of land, with the buildings and improvements thereon erected, situate,
lying and being in the County of Kings, City and State of New York, more commonly known respectively as
85 Flatbush Avenue Extension Condominium Commercial Unit and Hotel Unit, Brooklyn, New York 11201
and 85 Flatbush Avenue Extension Condominium Residential Unit, Brooklyn, New York 11201, and each
more particularly described on Exhibit A attached hereto and hereby made part hereof.

TOGETHER with all respective right, title and interest, if any, of the party of the first part in and to any
streets and roads abutting the above described premises to the center lines thereof; TOGETHER with the
appurtenances and all the respective estate and rights of the party of the first part in and to said premises;

TO HAVE AND TO HOLD the premises herein granted unto the party of the second part, the heirs or
successors and assigns of the party of the second part forever.

AND the party of the first part, in compliance with Section 13 of the Lien Law, covenants that the party of
the first part will receive the consideration for this conveyance and will hold the right to receive such
consideration as a trust fund to be applied first for the purpose of paying the cost of the improvement and
will apply the same first to the payment of the cost of the improvement before using any part of the total of
the same for any other purpose. The word “party” shall be construed as if it read “parties” whenever the
sense of this indenture so requires.




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IN WITNESS WHEREOF, the party of the first part has duly executed this deed the day and year first above
written.

                                                85 FLATBUSH RHO HOTEL LLC,
                                                a New York limited liability company



                                                By: _________________________
                                                Name:
                                                Title: Authorized Signatory

                                                85 FLATBUSH RHO RESIDENTIAL LLC,
                                                a New York limited liability company



                                                By: __________________________
                                                Name:
                                                Title: Authorized Signatory




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STATE OF NEW YORK
COUNTY OF NEW YORK

         On the _____ day of ________ in the year 2022 before me, the undersigned, a Notary Public in
and for said State, personally appeared _________________, personally known to me or proved to me on
the basis of satisfactory evidence to be the individual(s) whose name(s) is (are) subscribed to the within
instrument and acknowledged to me that he/she/they executed the same in his/her/their capacity(ies), and
that by his/her/their signature(s) on the instrument, the individual(s), or the person upon behalf of which the
individual(s) acted, executed the instrument.

                                                   __________________________________
                                                   Signature and Office of individual taking
                                                   acknowledgement




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                                        Exhibit A

                                    Legal Description




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                                       EXHIBIT B

                                  FORM OF BILL OF SALE

                                      [See attached]




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                                 KNOW ALL MEN BY THESE PRESENTS,

          That, subject to the terms and conditions hereinafter set forth, forth between 85 FLATBUSH RHO
HOTEL LLC and 85 FLATBUSH RHO RESIDENTIAL LLC, each a Delaware limited liability company
having an address at c/o Cornell Realty Management LLC, 75 Huntington Street, Brooklyn, New York
11231 (collectively, “Seller”) for and in consideration of the sum of Ten Dollars ($10.00), lawful money of
the United States, to it in hand paid at or before delivery of these presents by TH HOLDCO LLC, a Delaware
limited liability company having an address c/o Ohana Real Estate Investors, 1991 Broadway, Suite 100,
Redwood City, California 94063 (“Purchaser”), the receipt of which is hereby acknowledged, has bargained
and sold, and by these presents does grant and convey unto Purchaser its successors and assigns all right,
title and interest of Seller in and to all of the fixtures, equipment and other items of personal property
(collectively, the “Personal Property”) attached to, contained in, appurtenant to or utilized in connection with
the ownership or operation of, the premises and the improvements thereon located at 85 Flatbush Avenue
Extension Condominium Commercial Unit and Hotel Unit, Brooklyn, New York 11201 and 85 Flatbush
Avenue Extension Condominium Residential Unit, Brooklyn, New York 11201 (“Premises”), including,
without limitation, the items listed on Schedule A attached hereto).

         Seller grants, conveys and assigns the Personal Property unto Purchaser without recourse and
without representation or warranty of any kind, express or implied (except to the extent set forth in the
Purchase and Sale Agreement, dated as of June 30, 2022, by and between Seller and Purchaser, and
subject to the limitations contained therein).

        TO HAVE AND TO HOLD the same unto Purchaser, its successors and assigns forever.

       SELLER HAS MADE NO WARRANTY THAT THE PERSONAL PROPERTY COVERED BY THIS
BILL OF SALE IS MERCHANTABLE OR FIT FOR ANY PARTICULAR PURPOSE AND THE SAME IS
SOLD IN AN “AS IS” “WHERE IS” CONDITION. BY ACCEPTANCE HEREOF, PURCHASER AFFIRMS
THAT, EXCEPT AS SET FORTH IN THE AGREEMENT, IT HAS NOT RELIED ON ANY WARRANTY OF
SELLER WITH RESPECT TO THE PERSONAL PROPERTY AND THAT, EXCEPT AS SET FORTH IN
THE AGREEMENT, THERE ARE NO REPRESENTATIONS OR WARRANTEES, EXPRESSED, IMPLIED
OR STATUTORY.

      This Bill of Sale shall be governed by and construed in accordance with the laws of the State of
New York.

        This Bill of Sale shall be binding upon, enforceable by and shall inure to the benefit of the parties
hereto and their respective successors and assigns.

                                    [Signature page follows immediately]




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      IN WITNESS WHEREOF, Seller has caused this instrument to be duly executed this day of
_______________, 2022.

                                          ASSIGNOR:

                                          85 FLATBUSH RHO HOTEL LLC,
                                          a New York limited liability company



                                          By: _________________________
                                          Name:
                                          Title: Authorized Signatory

                                          85 FLATBUSH RHO RESIDENTIAL LLC,
                                          a New York limited liability company



                                          By: __________________________
                                          Name:
                                          Title: Authorized Signatory




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                                       EXHIBIT C

              ASSIGNMENT AND ASSUMPTION OF LEASE AND SECURITY DEPOSIT

                                      [See attached]

                                     [IF APPLICABLE]




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                          ASSIGNMENT OF AND ASSUMPTION OF
                             LEASE AND SECURITY DEPOSIT
       THIS AGREEMENT, made and entered into this ___ day of ________, 2022 between ________,
(“Assignor”) and ______________, a [TYPE OF ENTITY AND JURISDICTION OF FORMATION]
(“Assignee”).

                                            W I T N E S S E T H:

        WHEREAS, pursuant to that certain Purchase and Sale Agreement, dated _______________ __,
2021, between Assignor and Assignee (the “PSA”), Assignor has agreed to convey to Assignee, and
Assignee has agreed to accept from Assignor, all of Assignor’s right, title and interest in and to the real
property, and the buildings and other improvements located thereon, owned by Assignor and commonly
known by the address of _______________.(the “Premises”); and

          WHEREAS, Assignor desires to assign to Assignee all of Assignor’s right, title and interest in and
to the leases, tenancies, concessions, licenses and occupancies set forth on the rent roll attached hereto
as Schedule A and made a part hereof (collectively, the “Leases”), on the terms and conditions hereinafter
set forth; and Assignee desires to accept the assignment by Assignor of all of Assignor’s right, title and
interest in and to the Leases, on the terms and conditions hereinafter set forth, Assignee being willing to
perform all duties and responsibilities of the lessor under the Lease as hereinafter set forth. Assignor
desires to assign to Assignee all of the outstanding rents owns (“Arrears”), and Assignee desires to assume
all of the Arrears (the Arrears shall be set forth on the rent roll annexed hereto as Schedule A).

        NOW, THEREFORE, in consideration of the mutual acts, obligations and covenants of the parties,
one to the other, and other good and valuable consideration, the receipt and legal sufficiency of which are
hereby acknowledged by the parties, one to the other, it is mutually understood and agreed as follows:

        Assignment. Assignor hereby assigns, sets over and transfers the Leases to Assignee, its
        successors and assigns, together with all of Assignor’s right, title, interest, duties and
        responsibilities under the Leases including, without limitation any arrears or other outstanding
        payments due thereunder. Assignor shall indemnify Assignee against any liability and expense
        arising out of any breach by the lessor under the Leases occurring prior to the date hereof.

        Acceptance of Assignment. Assignee hereby accepts the within assignment by Assignor of the
        Leases and all of Assignor’s right, title, interest, duties and responsibilities thereunder arising from
        and after the date hereof, and Assignee hereby covenants to assume and perform all duties and
        responsibilities of the lessor under the Leases to the extent arising from and after the date hereof.
        Assignee shall indemnify Assignor against any liability and expense arising out of any breach by
        the lessor under the Leases occurring from and after the date hereof.

        Assignee’s Acknowledgement of Receipt of Security Deposits and Indemnification Relating
        Thereto. Assignee hereby acknowledges that Assignee has received security deposits under the
        Leases in the aggregate amount of ____________________ __________________ /100s ($
        __________) Dollars (collectively, the “Security Deposits”). Assignee shall indemnify and save and
        hold Assignor harmless from and against any and all costs, losses, liabilities and expenses,
        including reasonable attorneys’ fees, court costs and costs of collection, arising out of any breach
        by Assignee under the Leases respecting the lessor’s duty to refund the Security Deposits or any
        part thereof, to lessees or any lessee under the Leases.

        Survival. This Agreement and all indemnifications hereunder shall survive closing of that certain
        purchase and sale transaction contemplated by the PSA.

        Binding Effect. This Agreement shall be binding upon the parties hereto, their successors and
        assigns.




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        Modification. This Agreement may not be modified, revoked or amended other than in writing.

        Governing Law. This Agreement shall be governed by and in accordance with the laws of the
        State of New York.

                 IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the
date first above written.

                                              ASSIGNOR:

                                              ___________________________

                                              By:     __________________________
                                                      Name:
                                                      Title:

                                              ASSIGNEE:

                                              By:     __________________________
                                                      Name:
                                                      Title:




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                                      SCHEDULE A




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                                       EXHIBIT D

                                       RENT ROLL

                                      Not applicable




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                                        EXHIBIT E

                                   Intentionally Omitted




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                                        EXHIBIT F

                                    Assumed Contracts

[None.]




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